Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 1 of 15            FILED
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Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 2 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 3 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 4 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 5 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 6 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 7 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 8 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 9 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 10 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 11 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 12 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 13 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 14 of 15
Case 2:18-cv-00738-KOB Document 1 Filed 05/14/18 Page 15 of 15
